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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-cr-382 PLF
                                             :
CHRISTOPHER WARNAGIRIS                       :
                                             :
                       Defendant.            :


            JOINT STATUS REPORT RELATED TO PROTECTIVE ORDER STATUS

       Pursuant to this Court’s minute order of September 15, 2021, the parties hereby notify the

Court of the current status of the parties’ negotiations related to the Government’s proposed

protective order:

       1.      The parties have met and conferred in an attempt to reach an agreement on a

proposed protective order (ECF No. 16) related to discovery in the above referenced matter.

       2.      Despite considerable communications, the parties are unable to reach agreement on

the Government’s proposed order.

       3.      The primary dispute rests with the Government’s designation of internal Capitol

security video that the Government will designate as “highly sensitive” once the current proposed

protective order is entered.

       4.      The Government has not yet provided the relevant video to the Defendant because

the proposed protective order has not been entered. Should this Court enter the order, the

Government will immediately provide the video under the order’s “highly sensitive” designation.

Thereafter, and pursuant to the mechanisms in the order, the Defendant may contest the “highly

sensitive” designation.
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       WHEREFORE, the parties hereby inform the Court that they are at an impasse and

request a hearing and decision on the Government’s motion.


                                           Respectfully submitted,

                                           CHANNING D. PHILLIPS
                                           Acting United States Attorney
                                           DC Bar No. 415793


                                    By:          /s/
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